    Case 4:22-cv-03359 Document 39-10 Filed on 12/27/22 in TXSD Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

SECURITIES AND EXCHANGE                             §
COMMISSION,                                         §
                                                    §
           Plaintiff,                               §
                                                    §
           vs.                                      §
                                                    §
MAURICIO CHAVEZ, GIORGIO                            §       CIVIL ACTION NO. 4:22-CV-03359
BENVENUTO and CryptoFX, LLC,                        §
                                                    §       JUDGE ANDREW S. HANEN
           Defendants.                              §
                                                    §
CBT Group, LLC,                                     §
                                                    §
           Relief Defendant.                        §


  ORDER GRANTING RECEIVER’S MOTION FOR AN ORDER TO SHOW CAUSE
   WHY DEFENDANT MAURICIO CHAVEZ SHOULD NOT BE HELD IN CIVIL
           CONTEMPT FOR FAILING TO COMPLY WITH THIS
              COURT’S ORDER APPOINTING RECEIVER

           This cause, having come before the Court on Receiver’s Motion for an Order to Show

Cause Why Defendant Mauricio Chavez Should not be held in Civil Contempt for Failing to

Comply With this Court’s Order Appointing Receiver in this matter, and the Court, having

considered the Motion, any Responses, and all other relevant facts, finds the Motion to be good,

and the same is hereby granted. IT is, therefore,

           ORDERED that Mauricio Chavez fully complies with all the provisions of the

Receivership Order, including paragraphs 9 and 10. It is further,

           ORDERED that Mauricio Chavez cease all CryptoFX-related activities immediately. It is

further,
    Case 4:22-cv-03359 Document 39-10 Filed on 12/27/22 in TXSD Page 2 of 2




        ORDERED that Mauricio Chavez provide a full accounting of all monies removed from

the accounts covered by the asset freeze and from the Blalock office and other locations from

which CryptoFX continued to operate and (a) provide the location of the money or, (b) if spent in

an arm’s length transaction, when it was spent, for whose benefit it was spent, what was purchased,

and provide copies of any invoices or records concerning the expenditure. It is further,

        ORDERED that Mauricio Chavez turn over all funds and assets which he has concealed or

transferred in violation of the asset freeze to the Receiver. It is further,

        ORDERED that Mauricio Chavez turn over to the Receiver all other assets, including real

estate and personal property that belong in the Receivership Estate. It is further,

        ORDERED that Mauricio Chavez repatriate any overseas assets. It is further,

        ORDERED that Mauricio Chavez turn over his computers and cell phones the passwords

and other access credentials for these devices, as well as all passwords other access credentials for

the devices that the Receiver took possession of from the Blalock office. It is further,

        ORDERED that Mauricio Chavez immediately surrender his passport to the Court until he

has complied in full with the Court’s orders.

        Signed this _____ day of _________________________, 202__.




                                                HON. ANDREW S. HANEN
                                                United States District Court Judge




                                                   2
